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WOW Virtual Reality, Inc.

                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 WOW VIRTUAL REALITY, INC.

 Plaintiff                                               18-cv-8071 (VEC)

 v.                                                       [PROPOSED]
                                                  FINAL DEFAULT JUDGMENT
 2013*PASSIONATE, 6HK7243, ANNPADSTORE,                AND PERMANENT
 ANYBEADS,     BABYMAD1999,     BIZBEE2014,         INJUNCTION ORDER FOR
 BLUENESS-CHARM,      BTFACTORY,    BTLIFE,        DEFENDANT PENGZE2017-0
 CARMOTORS2013, CROWNALL, DEEBEE15,
 DEERWIN-2017,     E.FONE,    ECHOII_SHOP,
 ELECTROTOPS, ELETTRONICO666, ETOPS4U,
 FKNZHAN,     GIRLGEM,     GRACEWOLF2008,
 GREENFORCECELLS,      GYW2869,    HK-LIL3,
 HOMEALARM_SECURITY, HOT-LED, I.FONE,
 ILASTONE, JACK_FUR, JAFA-LED-WHOLESALE,
 JINFENG-CHEN, KANGBAOYOU005, KH_SHOP,
 KINGETOP,      LEADMAKET,        LE-DEMO,
 LEDLEADER,     LOW_PRICE_CITY,     LUCKY-
 LIGHT888,     MORE-THINGS,     OPPOHERE,
 PENGZE2017-0, POPLAR520, RCBATTERYCN,
 RECYCLEPOWERS, RONSHIN-AU, RUNBER2012,
 S925JEWELLERY1999,              SIKAI2011,
 SMILESTORE004,             SOUTHBEAUTY,
 STARSBUCKS, SUNSHINECOAST8007, TCLED,
 TEAFANS, TOMORROWHOME, TOMTOP_SALES,
 TOOTOOUP,     TOP-NAIL,   TOPPINGCRAFTS,
 TSBUYNOW, USLIGHT2013, WOODBEADS123,
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XIBOYAOFA818,   XIU789, XPSXPS2000-4,
YOURDISCOUNT_2008, YOURTIME2016  and
YVBOX,

Defendants
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                                      GLOSSARY

Term               Definition                                                     Docket Entry
                                                                                  Number
Plaintiff or WOW   WOW Virtual Reality, Inc.                                          N/A
Defendants         2013*passionate, 6hk7243, annpadstore, anybeads,                   N/A
                   babymad1999, bizbee2014, blueness-charm, btfactory,
                   btlife, carmotors2013, crownall, deebee15, deerwin-2017,
                   e.fone, echoii_shop, Electrotops, elettronico666, etops4u,
                   fknzhan, girlgem, gracewolf2008, greenforcecells,
                   gyw2869, hk-lil3, homealarm_security, hot-led, i.fone,
                   ilastone, jack_fur, jafa-led-wholesale, jinfeng-chen,
                   kangbaoyou005, kh_shop, kingetop, leadmaket, le-demo,
                   ledleader, low_price_city, lucky-light888, more-things,
                   oppohere, pengze2017-0, poplar520, rcbatterycn,
                   recyclepowers,             ronshin-au,          runber2012,
                   s925jewellery1999,           sikai2011,       smilestore004,
                   southbeauty, starsbucks, sunshinecoast8007, tcled,
                   teafans, tomorrowhome, tomtop_sales, tootooup, top-nail,
                   toppingcrafts, tsbuynow, uslight2013, woodbeads123,
                   xiboyaofa818,              xiu789,            xpsxps2000-4,
                   yourdiscount_2008, yourtime2016 and yvbox
Defaulting         2013*passionate,          annpadstore,        babymad1999,         N/A
Defendants         bizbee2014,       blueness-charm,       btfactory,     btlife,
                   carmotors2013, crownall, deebee15, deerwin-2017,
                   e.fone, echoii_shop, Electrotops, elettronico666, etops4u,
                   girlgem, gyw2869, homealarm_security, hot-led, i.fone,
                   jafa-led-wholesale, kangbaoyou005, kingetop, leadmaket,
                   le-demo, ledleader, lucky-light888, pengze2017-0,
                   rcbatterycn, ronshin-au, s925jewellery1999, sikai2011,
                   smilestore004, starsbucks, sunshinecoast8007, tcled, top-
                   nail,       uslight2013,        xiboyaofa818,        xiu789,
                   yourdiscount_2008 and yourtime2016
eBay               eBay.com, a San Jose, California-based online                      N/A
                   marketplace and e-commerce platform owned by eBay
                   Inc., a Delaware corporation, that allows manufacturers
                   and other third-party merchants, like Defendants, to
                   advertise, distribute, offer for sale and/or sell in what it
                   characterizes as either auction-style or fixed-price formats
                   and ship their retail products, which, upon information and
                   belief, originate from China, among other locations,
                   directly to consumers worldwide and specifically to
                   consumers residing in the U.S., including in New York
Sealing Order      Order to Seal File entered on September 5, 2018                    Dkt. 1
Complaint          Plaintiff’s Complaint filed on September 5, 2018                  Dkt. 8



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Application       Plaintiff’s ex parte application for: 1) a temporary          Dkts. 27-30
                  restraining order; 2) order restraining Merchant
                  Storefronts (as defined infra) and Defendants’ Assets (as
                  defined infra) with the Financial Institutions (as defined
                  infra); 3) order to show cause why a preliminary
                  injunction should not issue; 4) an order authorizing
                  alternative service by electronic means and 5) an order
                  authorizing expedited discovery filed on September 5,
                  2018
Arnaiz Dec.       Declaration of Jessica Arnaiz in Support of Plaintiff’s         Dkt. 28
                  Application
Hansen Dec.       Declaration of Christopher Hansen in Support of                 Dkt. 29
                  Plaintiff’s Application
Wolgang Dec.      Declaration of Brieanne Scully in Support of Plaintiff’s        Dkt. 30
                  Application
TRO               1) Temporary Restraining Order; 2) Order Restraining            Dkt. 33
                  Merchant Storefronts and Defendants’ Assets with the
                  Financial Institutions; 3) Order to Show Cause Why a
                  Preliminary Injunction Should Not Issue; 4) Order
                  Authorizing Alternative Service by Electronic Means and
                  5) Order Authorizing Expedited Discovery entered on
                  September 6, 2018
PI Show Cause     October 5, 2018 hearing to show cause why a preliminary          N/A
Hearing           injunction should not issue.
PI Order          October 10, 2018 Preliminary Injunction Order                   Dkt. 20
User Account(s)   Any and all websites and any and all accounts with online        N/A
                  marketplace platforms such as eBay, as well as any and all
                  as yet undiscovered accounts with additional online
                  marketplace platforms held by or associated with
                  Defendants, their respective officers, employees, agents,
                  servants and all persons in active concert or participation
                  with any of them
Merchant          Any and all User Accounts through which Defendants,              N/A
Storefronts       their respective officers, employees, agents, servants and
                  all persons in active concert or participation with any of
                  them operate storefronts to manufacture, import, export,
                  advertise, market, promote, distribute, display, offer for
                  sale, sell and/or otherwise deal in products, including
                  Counterfeit Products, which are held by or associated with
                  Defendants, their respective officers, employees, agents,
                  servants and all persons in active concert or participation
                  with any of them
WOW VR            WOW introduced its own virtual reality headsets, which are       N/A
Products          sold under the VR BOX brand, in November 2015 through
                  its predecessor in interest, Amaze Pictures, Inc. WOW VR
                  Products feature a sliding front-face panel, which provides

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                     for quick access to the camera when a consumer is using an
                     augmented reality application, and feature a customizable
                     focus adjustment system that has separate settings for each
                     eye
WOW VR Mark          U.S. Trademark Registration No. 5,021,219 for “VR              N/A
                     BOX” for goods in Classes 9 and 28
Counterfeit          Products bearing or used in connection with the WOW VR         N/A
Products             Mark, and/or products in packaging and/or containing
                     labels and/or hang tags bearing the WOW VR Mark,
                     and/or bearing or used in connection with marks that are
                     confusingly similar to the WOW VR Mark and/or products
                     that are identical or confusingly similar to the WOW VR
                     Products
Defendants’          Any and all money, securities or other property or assets      N/A
Assets               of Defendants (whether said assets are located in the U.S.
                     or abroad)
Defendants’          Any and all financial accounts associated with or utilized     N/A
Financial            by any Defendants or any Defendants’ User Accounts or
Accounts             Merchant Storefront(s) (whether said account is located in
                     the U.S. or abroad)
Financial            Any banks, financial institutions, credit card companies       N/A
Institutions         and payment processing agencies, such as eBay, PayPal
                     Inc. (“PayPal”), Payoneer Inc. (“Payoneer”), PingPong
                     Global Solutions, Inc. (“PingPong”) and other companies
                     or agencies that engage in the processing or transfer of
                     money and/or real or personal property of Defendants
Third Party          Online marketplace platforms, including, without               N/A
Service Providers    limitation, those owned and operated, directly or
                     indirectly, by eBay, as well as any and all as yet
                     undiscovered online marketplace platforms and/or entities
                     through which Defendants, their respective officers,
                     employees, agents, servants and all persons in active
                     concert or participation with any of them manufacture,
                     import, export, advertise, market, promote, distribute,
                     offer for sale, sell and/or otherwise deal in Counterfeit
                     Products which are hereinafter identified as a result of any
                     order entered in this action, or otherwise
Defendants’          Defendants’ Assets from Defendants’ Financial Accounts         N/A
Frozen Assets        that were and/or are attached and frozen or restrained
                     pursuant to the TRO and/or PI Order, or which are
                     attached and frozen or restrained pursuant to any future
                     order entered by the Court in this Action
Plaintiff’s Motion   Plaintiff’s Application for an Order to Show Cause Why         TBD
for Default          Default Judgment and a Permanent Injunction should not
Judgment             be entered Against Defaulting Defendant filed on
                     February 21, 2020

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Scully Aff.       Affidavit by Brieanne Scully in Support of Plaintiff’s         TBD
                  Motion for Default Judgment
eBay Discovery    The supplemental report identifying Defendants’                N/A
                  Infringing Item Number, Seller ID, Quantity Sold, GMV
                  and Auction Title, among other things, provided by
                  counsel for to Plaintiff’s counsel pursuant to the expedited
                  discovery ordered in both the TRO and PI Order




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        This matter comes before the Court by motion filed by Plaintiff for the entry of final

judgment and permanent injunction by default as to Defendant pengze2017-0 (“Defaulting

Defendant”) for Defaulting Defendant’s trademark infringement, trademark counterfeiting, false

designation of origin, passing off and unfair competition and related state and common law claims

arising out of Defaulting Defendant’s unauthorized use of Plaintiff’s WOW VR Mark, without

limitation, in their manufacturing, importing, exporting, advertising, marketing, promoting,

distributing, displaying or offering for sale and/or selling and/or sale of Counterfeit Products. 1

        The Court, having considered the Memorandum of Law and Affidavit of Brieanne Scully

in support of Plaintiff’s Motion for Default Judgment and a Permanent Injunction Against

Defaulting Defendant, the Certificates of Service of the Summons and Complaint, the Certificate

of the Clerk of the Court stating that no answer has been filed in the instant action, and upon all

other pleadings and papers on file in this action, it is hereby ORDERED, ADJUDGED AND

DECREED as follows:

                                I.    Defaulting Defendant’s Liability

1) Judgment is granted in favor of Plaintiff on all claims properly plead against Defaulting

    Defendant in the Complaint;

                                        II.    Damages Awards

1) IT IS FURTHER ORDERED, ADJUDGED AND DECREED, that because it would serve

    both the compensatory and punitive purposes of the Lanham Act’s prohibitions on willful

    infringement, and because Plaintiff has sufficiently set forth the basis for the statutory damages

    award requested in its Memorandum of Law in Support of its Motion for Default Judgment,

    the Court finds such an award to be reasonable and Plaintiff is awarded $50,000.000 in


1
 Where a defined term is referenced herein and not defined herein, the defined term should be understood as it is
defined in the Glossary.

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  statutory damages against Defaulting Defendant pursuant to 15 U.S.C. § 1117(c) of the

  Lanham Act, plus post-judgment interest (“Defaulting Defendant’s Individual Damages

  Award”).


                                  III.   Permanent Injunction

1) IT IS FURTHER ORDERED, ADJUDGED AND DECREED, that Defaulting Defendant, its

  respective officers, agents, servants, employees, successors and assigns and all persons acting

  in concert with or under the direction of Defaulting Defendant (regardless of whether located

  in the United States or abroad), who receive actual notice of this Order are permanently

  enjoined and restrained from:

     A. manufacturing, importing, exporting, advertising, marketing, promoting, distributing,

         displaying, offering for sale, selling and/or otherwise dealing in Counterfeit Products

         or any other products bearing the WOW VR Mark and/or marks that are confusingly

         similar to, identical to and constitute a counterfeiting and/or infringement of the WOW

         VR Mark;

     B. directly or indirectly infringing in any manner Plaintiff’s WOW VR Mark;

     C. using any reproduction, counterfeit, copy or colorable imitation of Plaintiff’s WOW

         VR Mark to identify any goods or services not authorized by Plaintiff;

     D. using Plaintiff’s WOW VR Mark, or any other marks that are confusingly similar to

         the WOW VR Mark on or in connection with the manufacturing, importing, exporting,

         advertising, marketing, promoting, distributing, displaying, offering for sale, selling

         and/or otherwise dealing in the Counterfeit Products;

     E. using any false designation of origin or false description, or engaging in any action

         which is likely to cause confusion, cause mistake and/or to deceive members of the


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           trade and/or the public as to the affiliation, connection or association of any product

           manufactured, imported, exported, advertised, marketed, promoted, distributed,

           displayed, offered for sale or sold by Defaulting Defendant with Plaintiff, and/or as to

           the origin, sponsorship or approval of any product manufactured, imported, exported,

           advertised, marketed, promoted, distributed, displayed, offered for sale or sold by

           Defaulting Defendant and Defaulting Defendant’s commercial activities by Plaintiff;

       F. secreting, concealing, destroying, altering, selling off, transferring or otherwise

           disposing of and/or dealing with: (i) Counterfeit Products; (ii) any computer files, data,

           business records, documents or any other records or evidence relating to:

               i. Defaulting Defendant’s User Accounts and/or Merchant Storefronts;

               ii. Defaulting Defendant’s Assets; and

               iii. the manufacture, importation, exportation, advertising, marketing, promotion,

                   distribution, display, offering for sale and/or sale of Counterfeit Products by

                   Defaulting Defendant and by its respective officers, employees, agents, servants

                   and all persons in active concert or participation with any of them; and

       G. effecting assignments or transfers, forming new entities or associations, or creating

           and/or utilizing any other platform, User Accounts, Merchant Storefronts or any other

           means of importation, exportation, advertising, marketing, promotion, distribution,

           display, offering for sale and/or sale of Counterfeit Products for the purposes of

           circumventing or otherwise avoiding the prohibitions set forth in this Order.

2)   IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Defaulting Defendant

     must deliver up for destruction to Plaintiff any and all Counterfeit Products and any and all

     packaging, labels, tags, advertising and promotional materials and any other materials in the



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     possession, custody or control of Defaulting Defendant that infringe Plaintiff’s WOW VR

     Mark or bear any marks that are confusingly similar to the WOW VR Mark pursuant to 15

     U.S.C. § 1118;

3)   IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the Third Party Service

     Providers and Financial Institutions are permanently enjoined and restrained from:

       A. secreting, concealing, transferring, disposing of, withdrawing, encumbering or paying

           any of the Defaulting Defendant’s Frozen Assets from or to Defaulting Defendant’s

           Financial Accounts until further ordered by this Court;

       B. secreting, concealing, destroying, altering, selling off, transferring or otherwise

           disposing of and/or dealing with any computer files, data, business records, documents

           or any other records or evidence relating to Defaulting Defendant’s Frozen Assets and

           Defaulting Defendant’s Financial Accounts;

       C. knowingly instructing, aiding or abetting any other person or business entity in

            engaging in any of the activities referred to in subparagraphs III(1)(A) through III(2)

            and III(3)(A) through III(3)(B) above through III(4)(A) below.

4)   IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the Third Party Service

     Providers are permanently enjoined and restrained from:

       A. providing services to Defaulting Defendant and Defaulting Defendant’s User Accounts

           and Merchant Storefronts, including, without limitation, continued operation of

           Defaulting Defendant’s User Accounts and Merchant Storefronts; and

       B. knowingly instructing, aiding or abetting any other person or business entity in

           engaging in any of the activities referred to in subparagraphs III(1)(A) through III(2)

           and III(3)(A) through III(3)(B) above through III(4)(A) above.



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       IV.    Order Authorizing Continued Alternative Service by Electronic Means

1) IT IS FURTHER ORDERED, as sufficient cause has been shown, that such alternative service

   by electronic means that was ordered in the TRO and PI Order, shall be deemed effective as to

   Defendants, Financial Institutions and Third Party Service Providers through the pendency of

   this action.

                       V.    Temporary Continuance of Asset Restraint

1) IT IS FURTHER ORDERED, as sufficient cause has been shown, that the Defendants are

   forbidden to make or suffer any sale, assignment, transfer or interference with any property in

   which they have an interest, except as set forth in subdivisions (h) and (i) of Section 5222 of

   the CPLR, for a thirty (30) day period after the entry of this Order.

 VI.    Post-Judgment Asset Restraint and Transfer Order Pursuant to Rules 64, Rule 65,
                 15 U.S.C. § 1116(a) and this Court’s Inherent Equitable Powers

1) IT IS FURTHER ORDERED, ADJUDGED AND DECREED that in accordance with Rule 64

   of the Federal Rules of Civil Procedure, 15 U.S.C. § 1116(a) and this Court’s inherent equitable

   powers to issue remedies ancillary to its authority to provide final relief, and given the

   difficulties Plaintiff would have enforcing this Order, Defaulting Defendant’s Frozen Assets

   from Defaulting Defendant’s Frozen Accounts, are, to the extent that a given Defaulting

   Defendant’s Frozen Assets equal Defaulting Defendant’s Individual Damages Award, hereby

   released and transferred to Plaintiff as full satisfaction of Defaulting Defendant’s Individual

   Damages Award for that Defaulting Defendant, and those Defaulting Defendant’s Frozen

   Assets shall be transferred by the Financial Institutions to Plaintiff through Plaintiff’s counsel

   within twenty (20) business days following the service of this Order, and upon receipt by

   Plaintiff’s counsel of such Defaulting Defendant’s Frozen Assets in full satisfaction of

   Defaulting Defendant’s Individual Damages Award, the Financial Institution(s) holding that


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  Defaulting Defendant’s Frozen Assets and Defaulting Defendant’s Frozen Accounts may

  unfreeze that Defaulting Defendant’s Frozen Assets and Defaulting Defendant’s Frozen

  Accounts. To the extent that Defaulting Defendant’s Frozen Assets are less than Defaulting

  Defendant’s Individual Damages Award, that Defaulting Defendant’s Frozen Assets are

  hereby released and transferred to Plaintiff as partial satisfaction of Defaulting Defendant’s

  Individual Damages Award for that Defaulting Defendant and those Defaulting Defendant’s

  Frozen Assets shall be transferred by the Financial Institutions to Plaintiff through Plaintiff’s

  counsel within twenty (20) business days following the service of this Order, and

2) IT IS FURTHER ORDERED, ADJUDGED AND DECREED that in accordance with Rule

  64, Rule 65, 15 U.S.C. § 1116(a) and this Court’s inherent equitable powers to issue remedies

  ancillary to its authority to provide final relief, and given the difficulties Plaintiff would have

  enforcing this Order, the Court also hereby grants Plaintiff’s request for a post-judgment

  restraining order continuing the attachment of each Defaulting Defendant’s Frozen Assets until

  Plaintiff has recovered the full payment of Defaulting Defendant’s Individual Damages Award

  owed to it by that Defaulting Defendant under this Order, or until further order of this Court;

  and

3) IT IS FURTHER ORDERED, ADJUDGED AND DECREED that in accordance with Rule

  64, Rule 65, 15 U.S.C. § 1116(a) and this Court’s inherent equitable powers to issue remedies

  ancillary to its authority to provide final relief, and given the difficulties Plaintiff would have

  enforcing this Order, until Plaintiff has recovered the full payment of Defaulting Defendant’s

  Individual Damages Award owed to them by any Defaulting Defendant under this Order, in

  the event that Plaintiff discovers new and/or additional Defaulting Defendant’s Assets

  (whether said assets are located in the U.S. or abroad) and/or Defaulting Defendant’s Financial



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   Accounts (whether said account is located in the U.S. or abroad) (“Defaulting Defendant’s

   Additional Assets” and “Defaulting Defendant’s Additional Financial Accounts,”

   respectively), Plaintiff shall have the ongoing authority to serve this Order on any Financial

   Institutions controlling or otherwise holding such Defaulting Defendant’s Additional Assets

   and/or Defaulting Defendant’s Additional Financial Accounts (“Financial Institutions Holding

   Defaulting Defendant’s Additional Assets and/or Financial Accounts”);

       A. Upon notice of this Order, Financial Institutions Holding Defaulting Defendant’s

          Additional Assets and/or Financial Accounts shall immediately locate Defaulting

          Defendant’s Additional Financial Accounts, attach and restrain such Defaulting

          Defendant’s Additional Assets in Defaulting Defendant’s Additional Financial

          Accounts from being secreted, concealed, transferred or disposed of or withdrawn; and

       B. After twenty (20) business days following the service of this Order on Financial

          Institutions Holding Defaulting Defendant’s Additional Assets and/or Financial

          Accounts, Financial Institutions Holding Defaulting Defendant’s Additional Assets

          and/or Financial Accounts shall transfer all of Defaulting Defendant’s Additional

          Assets to Plaintiff as partial or full satisfaction of Defaulting Defendant’s Individual

          Damages Award, unless Defaulting Defendant has filed with this Court and served

          upon Plaintiff’s counsel a request that such Defaulting Defendant’s Additional Assets

          be exempted from this Order.


                                VII.     Miscellaneous Relief

4) Defaulting Defendant may, upon proper showing and two (2) business days written notice to

   the Court and Plaintiff’s counsel, appear and move for dissolution or modification of the

   provisions of this Order concerning the restriction or restraint of Defaulting Defendant’s


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   Frozen Assets, Defaulting Defendant’s Additional Assets and/or Defaulting Defendant’s

   Additional Financial Accounts;

5) Any failure by Defaulting Defendant to comply with the terms of this Order shall be deemed

   contempt of Court, subjecting Defaulting Defendant to contempt remedies to be determined

   by the Court, including fines and seizure of property;

6) The Court releases the Five Thousand U.S. Dollar ($5,000.00) security bond that Plaintiff

   submitted in connection with this action to counsel for Plaintiff, Epstein Drangel, LLP, 60 East

   42nd Street, Suite 2520, New York, NY 10165; and

7) This Court shall retain jurisdiction over this matter and the parties in order to construe and

   enforce this Order.



SO ORDERED.




                                                    _________________________________
Date: September 18, 2020
                                                    HON. VALERIE E. CAPRONI
                                                    UNITED STATES DISTRICT JUDGE




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